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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AHMED ASHOUR, JOY BROWN, and                            CASE NO. 1:19-cv-07081-(AT) (OTW)
CRYSTAL TOWNES, individually and
on behalf of all others similarly situated,
                                                        CLASS ACTION
                      Plaintiffs,

vs.

ARIZONA BEVERAGES USA LLC,
HORNELL BREWING CO., INC.,
BEVERAGE MARKETING USA,
INC., ARIZONA BEVERAGES
HOLDINGS LLC, and ARIZONA
BEVERAGES HOLDINGS 2 LLC,

                      Defendants.


             PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION
             TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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I.     INTRODUCTION

       This class action arises from Defendants Arizona Beverages USA LLC (“ABUSA”);

Hornell Brewing Co., Inc (“Hornell”); Beverage Marketing USA, Inc. (“BMU”); Arizona

Beverages Holdings LLC (“ABH”); and Arizona Beverages Holdings 2 LLC’s (“ABH2”)

(collectively, “Arizona” or “Defendants”) false and misleading labeling of their Products as

containing “No Preservatives.” 1 Plaintiffs Ahmed Ashour (“Plaintiff Ashour”), Joy Brown

(“Plaintiff Brown”), Crystal Townes (“Plaintiff Townes”) (collectively, “Plaintiffs”) have

martialed substantial evidence that will prove their case at trial. Defendants cannot meet their

burden of establishing an absence of disputed material facts necessary for summary judgment on

Plaintiffs’ claims. Defendants do not—and cannot—contend the Products do not contain

preservatives. Rather, Defendants make a scattershot attempt at summary judgment. 2 All of

Defendants’ arguments fail.

       First, Defendants’ Statement of Facts contains a litany of Statements that violate Federal

Rule of Civil Procedure 56(c) and Local Rule 56.1(d) and should therefore be stricken.

Defendants’ Rule 56.1 Statement (“R. 56.1 Stm.”), ECF 371-1, infra. Second, ample evidence

exists to create questions of fact as to BMU, Hornell, ABH, and ABH2’s involvement in the

manufacture, marketing, distribution, and sale of the Products. See Plaintiffs’ Response to

Defendants’ Rule 56.1 Statement of Material Facts (“Resp. R. 56.1 Stm.”), at ¶¶ 92, 95-98. Third,

Defendants’ use of retainer agreements between counsel and Plaintiffs Townes and Brown to argue

that their claims are barred, and they lack standing are procedurally and functionally flawed. See




1
  “Products,” or “Class Products” is defined as the Sixteen Arizona Products listed in the Second
Amended Complaint. Second Amended Class Action Complaint, ECF No. 118 (“SAC”) ¶ 2.
2
   See Defendants’ Motion for Summary Judgment, ECF No. 314 (“Motion”) and Defendants’
Memorandum in Support of Summary Judgment, ECF No. 317 (“Defs. Mem.”).


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Declaration of Robert P. Donovan (“Donovan Decl.”), ECF No. 315, Ex. 4, Brown Retainer; Ex.

5, Townes Retainer.

       Fourth, Defendants have failed to meet their burden under Rule 56 to establish an absence

of disputed material facts necessary for summary judgment as to Plaintiffs Brown and Ashour’s

reliance upon the “No Preservatives” label in purchasing the Products. The testimony and verified

discovery responses of Plaintiffs Brown and Ashour, at a minimum, create a question of fact as to

their reliance. 3 Fifth, Plaintiffs Brown and Townes’ post-suit purchases and the voluntary payment

doctrine do not bar their claims, and could only limit the recovery the named Plaintiffs can seek.

Furthermore, questions of fact exist as to when Plaintiffs Brown and Townes possessed “full

knowledge” of the facts related to their causes of action as a prerequisite for the limitation of any

such recovery for their post-suit purchases under the voluntary payment doctrine.

       Sixth, Defendants’ Motion as to Plaintiffs’ unjust enrichment claims seek to revisit the

Court’s prior orders and should be rejected under the Law of the Case Doctrine. See Order, ECF

No. 92; Order, ECF No. 202. To the extent the Court entertains Defendants’ arguments,

Defendants have failed to meet their burden under Rule 56 to establish an absence of disputed

material facts. Indeed, Plaintiffs’ testimony establishes that Plaintiffs purchased Defendants’

Products based on Defendants’ misrepresentations, resulting ill-gotten gains. See Donovan Decl.,

Exs. 1, Ashour Dep.; Ex. 2, Deposition Transcript of Crystal Townes (“Townes Dep.”); Ex. 3,

Brown Dep. Finally, questions of fact exist as to the damages that Plaintiff Ashour is entitled under




3
  See Donovan Decl., Ex. 1, Deposition Transcript of Ahmed Ashour (“Ashour Dep.”); Ex. 3,
Deposition Transcript of Joy Brown (“Brown Dep.”); Declaration of Melissa S. Weiner (“Weiner
Decl.”), Ex. 23, Plaintiff’s Supplemental Responses and Objections to Defendants’ Initial
Interrogatories to Plaintiff Ahmed Ashour; Ex. 26, Plaintiff’s Amended Responses and Objections
to Defendants’ Initial Interrogatories to Plaintiff Joy Brown.


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the California Unfair Competition Law (“UCL”) Cal. Bus. & Prof. Code §§ 17200, et seq. 4 To

establish damages under the UCL, plaintiffs are not required to provide receipts for their purchases

but may establish damages through testimony alone. Plaintiff Ashour has testified extensively

about his purchases of Defendants’ Products, and Defendants’ Motion should therefore be denied.

II.       PLAINTIFFS PRESENT DISPUTED FACTS FOR JURY CONSIDERATION

          A.     Defendants Jointly Mislead Reasonable Consumers

          Defendants have labeled the Products as containing “No Preservatives” from the mid-

1990’s through today. See Resp. R. 56.1 Stm. ¶ 92; Donovan Decl., Ex. 20, Deposition Transcript

of Don Vultaggio, (“Vultaggio Dep.”), at 73:19-24; 77:7-19; 92:11-93:7. According to

Defendants’ corporate representative, Defendants labeled the Products as containing “No

Preservatives” because the labels are an important motivation for consumers to purchase the

Products in the highly competitive tea and juice market. Id. Ex. 20 at 79:3-80:4; 80:23-81:2 (“Our

no preservatives was always on the side […] it is important to people who believe it is important.”).

As a result of the “No Preservative” representation, Defendants have largely dominated the Ready-

to-Drink tea and juice market. See Resp. R. 56.1 Stm., ¶¶ 17, 18, 49, 50, 90, 91, 92; Weiner Decl.,

Ex. 24.

          However, despite representing the Products as containing “No Preservatives,” Defendants

never tested or verified that their Products do not contain preservatives. Resp. R. 56.1 Stm., ¶ 92;

Donovan Decl., Ex. 20, Vultaggio Dep. at 74:14-16 (“I never analyzed what was going into

products and beverages other than what I tasted.”). Defendants’ corporate representative testified

that he did not know whether citric acid—an ingredient found in all of the Class Products—is a



4
 While fact discovery is closed, the Court has yet to set deadlines for production of expert opinions
or expert discovery. Such expert opinions and discovery will establish the damages methodologies
claimed by Plaintiffs individually and on behalf of the Classes.


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preservative. Id. Ex. 20, at 234:18-24. 5 Defendants’ corporate representative provided this sworn

testimony despite the ample evidence produced in this case wherein Defendants were notified of

concerns about the use of citric acid in the Products with use of the “No Preservatives”

representation. See e.g., Resp. R. 56.1 Stm., ¶ 92; Weiner Decl. Exs. 27, 28, 29, 30, 31. This case

should go to trial.

        B.      Questions of Fact Exist as to Defendants ABUSA, Hornell, BMU, ABH, and
                ABH2’s Responsibility for the Products

        ABUSA, Hornell, BMU, ABH, and ABH2 are all privately held companies that are owned

and operated by Don Vultaggio. Resp. R. 56.1 Stm., ¶ 92; Donovan Decl., Ex. 20, Vultaggio Dep.

at 69:15-16; 67:16-70:13; 195:20-196:23, 198:3-22. While Defendants’ Motion includes

references to invoices in which payment is to be remitted to ABUSA, (see R. 56.1 Stm., ¶ 94;

Declaration of Don Vultaggio, (“Vultaggio Decl.”), Ex. A), evidence exists as to the involvement

of the other named Defendants in the manufacturing, labeling, marketing, distribution, and sale of

the Products. See Resp. R. 56.1 Stm. ¶¶ 92-98.

        All of Plaintiffs’ discovery requests have been propounded upon all Defendants named in

this lawsuit, and Defendants have collectively and consistently responded to these discovery

requests, which are signed and verified by the same individual—Don Vultaggio—on behalf of all

Defendants. 6 See Resp. R. 56.1 Stm. ¶¶ 92-98; Weiner Decl., Exs 39, 40, 41, 42, 43, 44, 45, 46,

47, 48. Second, Plaintiffs served a 30(b)(6) deposition notice upon all Defendants. See Resp. R.

56.1 Stm. ¶¶ 92-98; Donovan Decl., Ex. 22; Weiner Decl. ¶¶ 11, 12, 13. In response to Plaintiffs’




5
  It is an undisputed fact that all sixteen of the Class Products have contained the prominent “No
Preservatives” representation yet contained citric acid—a known preservative—during the entire
Class Period.
6
   Similarly, Defendants have exclusively served initial disclosures, discovery requests, and
deposition notices on behalf of all Defendants named in this action.


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30(b)(6) deposition notice, Defendants produced four corporate witnesses to testify on behalf of

all named Defendants in this action, and the testimony binds all Defendants. See id.

               1.      Hornell’s involvement in the manufacture, labeling, packaging, marketing,
                       distribution, and sale of the Products

       Defendants’ own discovery responses admit that Hornell and its Chairman—Don

Vultaggio—have “knowledge of, among other matters, the labeling and ingredients in the products

referenced in paragraph 2 of the Complaint.” See Resp. R. 56.1 Stm. ¶ 95; Weiner Decl. Exs. 32,

33. Defendants’ Rule 26(a)(1) Initial Disclosures identify Don Vultaggio, Chairman of Hornell,

ABUSA, and BMU as an individual likely to have discoverable information including information

related to Hornell’s, ABUSA’s and BMU’s operations including, inter alia, the manner in which

ABUSA labels and sells the beverages identified in the Complaint.” Id. Defendants have produced

documentation evidencing: (1) Hornell is a parent company for ABUSA; (2) Hornell incurs

expenses for the marketing, advertising, and promotions for the Products; (3) Hornell is

responsible for inventory of the Products, ingredients, and labels; (4) Hornell maintains ledgers

regarding the delivery of Products, ingredients, and labels to retailers; and (5) Hornell is involved

in the purchasing and pricing of containers for the Products. See Resp. R. 56.1 Stm. ¶ 95; Weiner

Decl. Exs. 34, 35, 36, 37, 38. Furthermore, public records evidence the role Hornell has in the

distribution and marketing of the Products. See Resp. R. 56.1 Stm. ¶ 95 (citing Beverage Marketing

USA, Inc. v. South Beach Beverage Co., Inc., Civ. No. 265/2002, 2007 WL 1187975, at *1 (N.Y.

Sup. Apr. 11, 2007) (“Beverage Marketing and Hornell are involved in the development,

production, and sales of AriZona beverages. Beverage Marketing holds the AriZona products

trademarks and licenses those rights to Hornell. Hornell distributes and markets AriZona

products.”) (emphasis added)).

               2.      BMU’s involvement in the manufacture, labeling, packaging, marketing,
                       distribution, and sale of the Products


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       Defendants’ own discovery responses admit that BMU and its Chairman—Don

Vultaggio—have “knowledge of, among other matters, the labeling and ingredients in the products

referenced in paragraph 2 of the Complaint.” See Resp. R. 56.1 Stm. ¶ 98; Weiner Decl. Exs. 32,

33. Similarly, according to Defendants’ Amended Objections and Responses to Plaintiff Crystal

Townes’ Second Set of Interrogatories, BMU has information related to: the source(s) of the water

used to make the Products; the initial pH level before addition to the batch process, the batch pH

after admixing with the batch water source listed above and before adding the final citric acid to

the batch, the resultant finished equilibrium pH level of each finished batch Product after the final

addition of the citric acid, the “water activity (aw),” and % Soluble Solids (also known as degrees

Brix reading) and Titratable Acidity (which differs from the pH), of each Product. See Resp. R.

56.1 Stm. ¶ 98; Weiner Decl. Ex 43. 7 Furthermore, public records further evidence the role in

which Hornell has in the distribution and marketing of the Products. See Resp. R. 56.1 Stm. ¶ 98

(citing Beverage Marketing USA, Inc., 2007 WL 1187975, at *1 (“Beverage Marketing and

Hornell are involved in the development, production, and sales of AriZona beverages. Beverage

Marketing holds the AriZona products trademarks and licenses those rights to Hornell. Hornell

distributes and markets AriZona products.”) (emphasis added)).

               3.      ABH and ABH2’s involvement in the manufacture, labeling, packaging,
                       marketing, distribution, and sale of the Products

       Defendants have produced correspondence from Abid Rizvi, ABH and ABH2’s chief

executive officer, that evidence ABH and ABH2’s role in communicating with third parties

regarding the Products, including, design of Product labels and bottles, regulatory matters, and



7
  All of the information cited from Weiner Decl. Ex. 43, is relevant to the issue of whether the
Products are “acidified foods” under to 21 C.F.R § 114, meaning that they must be preserved in
some way, shape or form (e.g., the addition of citric acid) for them to be shelf-stable at room
temperature.


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Product taste testing. See Resp. R. 56.1 Stm. ¶¶ 96-97; Weiner Decl. Ex. 49. In particular,

correspondence from ABH and ABH2 specifically raises a third parties’ concern about the “No

Preservatives” representation on multiple Products in which Abid Rizvi responds: “We are very

comfortable with the claims on our Products […]” Id. Ex. 50.

       C.      Plaintiffs’ Testimony Regarding Their Purchases of the Arizona Products

               1.      Plaintiff Ashour’s Purchases of the Arizona Products

       Plaintiff Ashour testified that he purchased the following Products: Arizona Green Tea

with Ginseng and Honey, Arizona Rx Energy Herbal Tonic, and Arizona Mucho Mango. See Resp.

R. 56.1 Stm. ¶ 1; Donovan Decl., Ex. 1, Ashour Dep. at 95:15-19; see also Weiner Decl. Ex. 23,

Nos. 7, 8. Plaintiff Ashour provided specific details for the identified purchases of Arizona

Products during his deposition and testified that he purchased Arizona Products two to three times

per week from late 2014 to November 2018. See Resp. R. 56.1 Stm. ¶ 2; Donovan Decl., Ex. 1 at

94:6-97:23. Plaintiff Ashour testified that he made “a couple, two, three” purchases of Rx Energy

and Arizona Mucho Mango. See Resp. R. 56.1 Stm. ¶ 2; Donovan Decl., Ex. 1 at 116:12-117:24;

119:14-22. Plaintiff Ashour specifically testified—as to all purchases—that he would not have

purchased any Arizona Product if the “No Preservatives” representation was not present on the

label. See Resp. R. 56.1 Stm. ¶¶ 10, 11, 13, 14; Donovan Decl., Ex. 1 at 152:17-153:10.

               2.      Plaintiff Townes’ Purchases of the Arizona Products

       Plaintiff Townes testified that she purchased the following Products: Arizona Iced Tea with

Lemon Flavor, Arizona Arnold Palmer Zero Half Iced Tea & Half Lemonade, Arizona Fruit Punch

Fruit Juice Cocktail, Arizona Watermelon Fruit Juice Cocktail, Arizona Golden Bear Lite

Strawberry Lemonade, Arizona Raspberry Iced Tea, and Arizona Southern Style Real Brewed

Sweet Tea. See Resp. R. 56.1 Stm. ¶ 19; Donovan Decl., Ex. 2, Townes Dep. at 41:6-19; 29:8-22;

58:22- 59:8; 59:14-23; 61:12-62:19; 120:17-121:17; see also Weiner Decl. Ex. 25, Nos. 7, 8.


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Plaintiff Townes testified that she reviewed and relied upon the “No Preservatives” representation

on the label of the Products when making her purchases beginning in 2014. See Resp. R. 56.1 Stm.

¶ 29; Donovan Decl., Ex. 2 at 45:5-11; 129:16-21; 151:15-21. Plaintiff Townes also testified that

the “No Preservatives” representation on the Products’ labels “is at the top of my list what I look

for” and understood that she paid more for Products because of the “No Preservatives”

representation. See Resp. R. 56.1 Stm. ¶ 30; Donovan Decl., Ex. 2 at 101:24-102:14; 129:16-21.

                3.      Plaintiff Brown’s Purchases of the Arizona Products

        Plaintiff Brown testified that she purchased the following Products: Arizona Green Tea

with Ginseng and Honey, Arnold Palmer Half & Half, Iced Tea with Lemon, and Raspberry

Flavored Iced Tea. See Resp. R. 56.1 Stm. ¶ 53; Donovan Decl., Ex. 3, Brown Dep. at 85:21-

86:10; see also Weiner Decl., Ex. 26, Nos. 7, 8. Plaintiff Brown testified that that in addition to

the taste, price, thirst quenching, sugar content of the Products, she relied on the “No

Preservatives” representation in her purchases. See Resp. R. 56.1 Stm. ¶ 64; Donovan Decl., Ex. 3

at 107:3-108:6. Further, Plaintiff Brown testified that she reviewed the Products’ labels prior to

purchase, (id., at 27:8-25), and that those labels clearly stated, “No Preservatives.” Id., at 84:24-

85:5; 85:15-20.

III.    PROCEDURAL POSTURE

        While fact discovery is closed, the Court has not yet set deadlines for production of expert

opinions or expert discovery, which will establish the damages methodologies claimed by

Plaintiffs individually and on behalf of the Classes. Similarly, Plaintiffs have not yet moved for

class certification. Until such a motion is made, the scope of the Classes and the manner in which

their damages can be calculated under the law or, alternatively, under their claims for equitable

relief in the form of restitution and unjust enrichment, are not before the Court.




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IV.    LEGAL STANDARD

       Summary judgment is only proper when “the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Riegel v.

Medtronic, Inc., 451 F.3d 104, 108 (2d Cir. 2006), aff'd, 552 U.S. 312 (2008) (citing Fed. R. Civ.

P. 56(a)). There is a genuine dispute a material fact when “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Cunningham v. Cornell Univ., 86 F.4th 961,

980 (2d Cir. 2023) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). The Court

must “construe the facts in the light most favorable to the non-moving party and must resolve all

ambiguities and draw all reasonable inferences against the movant.” Aulicino v. N.Y.C. Dep't of

Homeless Servs., 580 F.3d 73, 79-80 (2d Cir. 2009). A “material” fact is one capable of influencing

the case’s outcome under governing substantive law, and a “genuine” dispute is one as to which

the evidence would permit a reasonable juror to find for the party opposing the motion. Figueroa

v. Mazza, 825 F.3d 89, 98 (2d Cir. 2016). “The Court should not grant summary judgment if there

is ‘any evidence in the record that could reasonably support a jury’s verdict for the non-moving

party.’” Cityspec, Inc. v. Smith, 617 F. Supp. 2d 161, 168 (E.D.N.Y. 2009) (citation omitted).

V.     ARGUMENT

       A.      Defendants’ Statement of Facts Fails to Comply with Federal Rule of Civil
               Procedure 56 (c) and Local Rule 56.1

       Many of Defendants’ Rule 56.1 Statement of Facts functionally violate Federal Rule of

Civil Procedure 56(c) and Local Rule 56.1(d) and should therefore be stricken. First, numerous

statements by Defendants are argumentative in nature. See, e.g., R. 56.1 Stm., ECF No. 317-1, ¶¶

21-24, 26, 27, 42, 55-58, 60, 61. Congregation Rabbinical Coll. of Tartikov, Inc. v. Village of

Pomona, 138 F. Supp. 3d 352, 394 (S.D.N.Y. 2015) (striking argumentative statements).




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       Second, numerous statements are vague, ambiguous, state legal conclusions, or otherwise

consider non-admissible evidence. See, e.g., R. 56.1 Stm., ECF No. 317-1, ¶¶ 21-27, 55-58, 60,

61. Epstein v. Kemper Ins. Co., 210 F. Supp. 2d 308, 314 (S.D.N.Y. 2002) (“Statements in an

affidavit or Rule 56.1 statement are inappropriate if they are not based on personal knowledge,

contain inadmissible hearsay, are conclusory or argumentative, or do not cite to supporting

evidence.”); see also Morris v. Northrop Grumman Corp., 37 F. Supp. 2d 556, 568 (E.D.N.Y.

1999) (“the court ... will only consider [] evidence that is admissible.”); Simmons v. Woodycrest

Ctr. for Human Dev., Inc., No. 10-CV-5193 (JSR), 2011 WL 855942, at *1 n.1 (S.D.N.Y. Mar. 9,

2011) (disregarding statements consisting of legal conclusions).

       Third, numerous statements are reserved for expert testimony and inappropriate for

statements of fact. See, e.g., R. 56.1 Stm., ECF No. 317-1, ¶¶ 21-24, 26, 27, 55-58. Holtz v.

Rockefeller & Co., Inc., 258 F.3d 62, 74 (2d Cir. 2001) (A “Rule 56.1 statement is not itself a

vehicle for making factual assertions that are otherwise unsupported in the record”).

       B.      Questions of Fact Preclude Summary Judgment as to Defendants BMU,
               Hornell, ABH, and ABH2

       Contrary to Defendants’ argument, significant evidence exists that, at a minimum, creates

a question of material fact as to BMU, Hornell, ABH, and ABH2’s involvement in the

manufacture, marketing, labeling, distribution, and sale of the Products that precludes the grant of

Defendants’ Motion. The general rule is that joint tortfeasors are liable for the entire harm caused,

(Restatement (Second) of Torts, § 875), and this Court has previously applied this general rule to

non-principal parties in torts involving misrepresentation. See, e.g., Superintendent of Ins. v.

Freedman, 443 F. Supp. 628, 638 (S.D.N.Y. 1977), aff’d, 594 F.2d 852 (2d Cir. 1978); Tambrands,

Inc. v. Warner-Lambert Co., 673 F. Supp. 1190 (S.D.N.Y. 1987). Importantly, where a factual

dispute exists as to whether affiliated parties can be found jointly liable under an alter ego theory



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of liability, summary judgment is inappropriate. Comfortex Co., Ltd., v. XCel Brands Inc., No. 21-

CV-7326 (ER), 2024 WL 1255535, *11-12 (S.D.N.Y. Mar. 25, 2024).

       Mirroring the general rule of joint liability, the California Unfair Competition Law

(“UCL”) Cal. Bus. & Prof. Code §§ 17200, et seq., California Consumer Legal Remedies Act

(“CLRA”) Cal. Civ. Code §§ 1750, et seq., and California False Advertising Law (“FAL”) Cal.

Bus. & Prof. Code §§ 17500, et seq., proscribe unfair practices as “undertaken by any person in a

transaction intended to result or which results in the sale of goods or services to any consumer.”

Cal. Civ. Code § 1770(a). Indeed, anyone can be liable under the CLRA for their deceptive

practices in making or carrying out agreements that are intended or result in an eventual sale even

if the plaintiff does not deal directly with the defendant. See Traer v. Domino’s Pizza LLC, No.

CV 21-6187-MWF, 2023 WL 6369712, at *13 (C.D. Cal. June 29, 2023). Courts analyzing the

UCL, CLRA, and FAL routinely state that California law “imposes liability on parties whose

agents engage in false advertising or unfair business practices, or who participate in a scheme that

results in the dissemination of misleading or deceptive advertising (even if their role in the tortious

acts may not give rise to liability independently).” Woodard v. Labrada, No. ED CV 16-00189-

JGB (SPx), 2017 WL 3309765, at *13 (C.D. Cal. July 31, 2017) (rejecting argument that the

supplier defendants failed to state a CLRA claim because there was no direct “transaction” between

the plaintiffs and defendants given the defendants role regarding the product). Similarly, under

New York GBL §§ 349, et seq.; 350, et seq., any entity that engages in consumer-oriented acts or

practices that are deceptive or misleading in a material way and that plaintiff has been injured by

reason thereof can be held liable. See e.g., DeAngelis v. Timberpeg East, Inc., 858 N.Y.S.2d 410,

414 (2008).




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       Plaintiffs explicitly alleged that all of the named Defendants falsely and deceptively labeled

and represented that their Products contained “No Preservatives.” Second Amended Complaint

(“SAC”), ECF No. 118 ¶¶ 1-10, 65-129. Defendants jointly responded to those allegations and

Plaintiffs’ discovery requests, and also provided corporate representative 30(b)(6) testimony

jointly. See Resp. R. 56.1 Stm. ¶¶ 86-104, Donovan Decl., Ex. 20, Vultaggio Dep.; Weiner Decl.,

¶¶ 11, 12, 13. Furthermore, evidence exists that directly supports that all Defendants are involved

in the manufacture of the Products; the decision to use the “No Preservative” statement; the sale

of the Products; and the marketing and/or labeling of the Products, as well as reap the profits of

the Products. See Section II.B. supra.

       Defendants rely upon a single document produced during the deposition of one of their

30(b)(6) witnesses as evidence that ABUSA is the only Defendant responsible for the sale,

marketing, and labeling of the Products. Defs. Mem. at 11 (citing R. 56.1 Stm. ¶¶ 86, 90, 94, 101).

This document was produced merely for the identification of key persons at ABUSA involved in

sales, marketing, and labeling of the Products. Donovan Decl., Ex. 20, Vultaggio Dep. at 182:12-

17. Moreover, Defendants’ 30(b)(6) witness did not draft the document. Id. Ex. 20, at 183:3-7.

Lastly, the document wholly fails to address the relationship of the named Defendants as to the

manufacture, ingredients, decision to use the “No Preservative” statement, sale, marketing, and/or

the labeling of the Products. Id. This self-serving document falls short of what is necessary under

Rule 56.

       Ironically, the cases cited by Defendants in support of their argument for summary

judgment as to Defendants BMU, Hornell, ABH, and ABH2 actually support denying Defendants’




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Motion and finding that questions of fact exist as to the liability of all named Defendants. 8 In

Perfect 10, Inc. v. Visa International Service Association, the Ninth Circuit held that any entity

that is personally involved in the reproduction, alteration, or distribution of the unlawful, unfair,

deceptive, untrue, misleading, or fraudulent business act or practice misleading advertising can be

held liable under the UCL and FAL. 494 F.3d 788, 808-09 (9th Cir. 2007). The Ninth Circuit

affirmed the district court’s dismissal of the member merchant banks because there was no

evidence that those entities were actually involved in the alleged misleading advertisements, but

merely processed payments related to those advertisements. Id., at n.20. In contrast here, there is

explicit evidence that BMU, Hornell, ABH, and ABH2 are directly involved in the manufacture

of the Products, decision to use the “No Preservative” statement, sale, marketing and/or labeling,

and profits of the Products. See section II.B., supra. At a minimum, the evidence cited herein by

Plaintiffs, Defendants’ discovery responses, and Defendants’ participation throughout the entirety

of this litigation create a question of fact properly reserved for a jury.

        C.      Plaintiffs Townes and Brown’s Retainer Agreements are Consistent with New
                York Law and Do Not Impact Plaintiffs’ Article III Standing

        Defendants argue that the retainer agreements between Plaintiffs Townes and Brown and

Plaintiffs’ counsel (the “Retainer Agreements”), violate the doctrine of champerty because counsel

took an assignment of the attorneys’ fees that may be owed for work performed on behalf of

Plaintiffs. Defs. Mem. at 14-18; Donovan Decl. Exs. 4, 5. Moreover, Defendants argue that

because the Retainer Agreements do not provide for contingent fee arrangements, New York’s

safe harbor does not save them from champerty. Id. Defendants are wrong.


8
  Defendants’ citation to Colpitts v. Growers, is perplexing. While the case does involve allegations
of violations of the NY GBL §§ 349 and 350, the case does not address joint liability under the
New York statutes. No. 20 Civ. 2487 (JPC), 2023 WL 2752161 (S.D.N.Y., Mar. 31, 2023). In fact,
there was only one defendant named in Colpitts. Id. As a result, the case is irrelevant as to whether
questions of fact as to the joint liability of BMU, Hornell, ABH, and ABH2 exist in this case.


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        It should be noted at the outset that this “eleventh hour” affirmative defense by Defendants

is typically invoked much earlier in litigation—usually at the motion to dismiss stage. And even

though Defendants were provided with copies of the Retainer Agreements over two and half years

ago, they only raise it for the first time now, well after the close of fact discovery. Thus, Plaintiffs

are left perplexed; wondering why Defendants would seek to raise champerty now if not for the

purpose of attempting to wear down Plaintiffs, creating unnecessary work, distracting the Court

from the real issues at play, and further delaying trial.

        Nonetheless, the seldom-invoked and increasingly abandoned doctrine of champerty

prohibits “the initiation and/or maintaining of a suit [by an attorney] in return for a financial interest

in the outcome…” Elliott Assoc. L.P v. Banco de la Nacion, 194 F.3d 363, 372 (2d Cir. 1999). 9

New York’s champerty law states that an attorney shall not “[d]irectly or indirectly buy, take an

assignment of or be in any manner interested in buying or taking an assignment of a bond,

promissory note, bill of exchange, book debt, or other thing in action, with the intent and for the

purpose of bringing an action thereon.” N.Y. Judiciary Law (“NYJL”), § 488(1). However, New

York does protect from champerty retainer agreements that provide for a contingent fee

arrangement. NYJL § 488(2).

        Importantly, “the affirmative defense of champerty requires an assessment of more than

the terms contained within the four corners of the contract—the analysis entails looking at the

“actual purpose and intent” of the parties involved.” Lateral Recovery, LLC v. Cap. Merch.

Servs., LLC, 632 F. Supp. 3d 402, 441-42 (S.D.N.Y. 2022) (citing Justinian Cap. SPC v. WestLB

AG, 65 N.E.3d 1253, 1255 (2016)) (emphasis added); see also NYJL § 489(1) (containing specific




9
 Further proof that champerty is a vestige of a bygone era, Defendants rely on a Supreme Court
opinion from 1857. See Defs. Mem. at 14 (quoting Roberts v. Cooper, 61 U.S. 467, 472 (1857)).


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requirement of “with the intent and for the purpose” for champerty defense). For that reason,

resolution of the champerty defense can only take place after discovery on the issue. Lateral

Recovery, LLC, 632 F. Supp. 3d at 441 (ordering champerty-related discovery); see also Phoenix

Light SF Ltd. v. U.S. Bank Nat. Ass’n, 612 F. Supp. 3d 263, 268-69 (S.D.N.Y. 2020) (considering

champerty on summary judgment after previously denying motion to dismiss on the basis of

champerty without prejudice so that more discovery could take place); CIBC Bank & Tr. Co.

(Cayman) v. Banco Cent. do Brasil, 886 F. Supp. 1105, 1111 (S.D.N.Y. 1995) (noting that courts

“on occasion” have found a champertous assignment on a motion to dismiss but declining to do

so); Justinian Cap. SPC, 65 N.E.3d at 1255 (explaining that summary judgment was granted only

after “champerty-related discovery was complete”). Thus, putting aside that the Retainer

Agreements are garden variety retainers entered into by class action counsel across the country

without objection, they utterly fail to establish on their face a champertous relationship. See

Donovan Decl., Exs. 4, 5. To the extent that the Court is willing to entertain Defendants’ argument,

discovery must be ordered on the issue before it can be properly adjudicated. In any event, as

discussed below, this Court can deny Defendants’ Motion on this issue without ordering discovery.

       The argument that Defendants put forth is one of first impression and is concocted by

improperly joining two factors that exist in many class actions: the first being the typically low

recovery amounts owed to plaintiffs in class actions; and the second being that counsel takes a

revocable assignment by plaintiffs of their rights to attorneys’ fees. Based on these facts,

Defendants summarily conclude that, “there can be no genuine dispute that counsel has directly or

indirectly taken over an interest in their clients’ causes of action which is further evidenced by




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counsel owning the right to determine the amount of the claims asserted in any settlement.” 10 Defs.

Mem. at 16. Defendants’ convoluted argument fails.

       First, Defendants do not cite to even one case where a revocable assignment of claims to

attorneys’ fees was found to constitute champerty. Moreover, Defendants’ sole support for a

finding of champerty here is a case that not only did not involve the revocable assignment of a

claim to attorneys’ fees earned by the attorney assignee, but instead involved a retainer agreement

where the attorneys were seeking 45% percent of actual damages and 80% of statutory damages

in the event of a recovery. Defs. Mem. at 15-16 (citing Taylor-Burns v. AR Res., Inc., 268 F. Supp.

3d 592, 598 (S.D.N.Y. 2017)). Clearly, that case is not instructive. Importantly, should there ever

be a settlement or judgment entered in this case, it is this Court that will determine what monies

are paid to Plaintiffs’ counsel by way of fees and expenses, thereby nullifying any risk of excessive

fees being paid to them like those sought in Taylor-Burns. Indeed, none of those cases cited by

Defendants involved the assignment of plaintiffs’ claims to attorneys’ fees payable to them, and

instead, involved the assignment of claims to surrogates for the sole purpose of initiating lawsuits

(i.e., the very thing that champerty laws prohibit). Defs. Mem. at 17 (citing Phoenix Light S.F.

Ltd., 612 F. Supp. 3d at 281-83 (finding that assignment of rights by a CDO trustee to certain CDO

issuers for purpose of initiating litigation was champertous); Aretakis v. Caesars Entm’t, et al.,

No. 16 Civ. 8751 (KPF), 2018 WL 1069450, at *10 (S.D.N.Y. Feb. 23, 2018) (granting motion to

dismiss because the assignment of a claim by the real party in interest to another for the purpose

of initiating a lawsuit was champertous); Refac Int’l, Ltd. v. Lotus Dev. Corp., 131 F.R.D. 56, 58

(S.D.N.Y. 1990) (same)). Thus, those cases are likewise not instructive.



10
   Defendants’ argument that Plaintiffs’ counsel “own[s] the right to determine the amount of the
claims asserted in any settlement” is not supported by the agreements’ clear and unequivocal
language. See Defs. Mem. at 16; Donovan Decl., Exs. 4, 5.


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       Defendants further argue that the Retainer Agreements are not protected by NYJL §

488(2)’s safe harbor against champerty because they are not “contingent fee arrangements.” Defs.

Mem. at 15. Defendants’ argument fails because it mischaracterizes both the Retainer Agreements,

and what constitutes a contingent fee arrangement. Specifically, Defendants argue the Retainer

Agreements are not contingent fee arrangements “because: (1) the fee claims were assigned

outright to the lawyers; (2) the agreements do not state a percentage of the fees to be collected out

of any award to Ms. Brown or Ms. Townes; and (3) in the event Ms. Townes and/or Ms. Brown

terminate counsel’s services, they are obligated to pay their lawyers regardless of any recovery.”

Defs. Mem. at 15. This argument also fails.

       First, Defendants are wrong when they state that Plaintiffs’ “fee claims were assigned

outright to the lawyers.” Defs. Mem. at 15 (emphasis added). The Retainer Agreements are clear

that the assignment does not irrevocably assign all of Plaintiffs’ attorneys’ fee claims, but only

those claims for fees payable to Plaintiffs’ counsel for work actually performed by them (or already

performed in the event of termination). See Donovan Decl. Exs. 4, 5 at § 6 (limiting assignment to

“fees to which we are entitled;” and providing reassignment of fee claims to Plaintiffs upon their

termination of counsel in return for payment of legal services rendered through termination.). In

other words, in the event that Plaintiffs were to replace current counsel, current counsel does not

take an assignment of fees payable to their replacement(s). To that extent, the Retainer Agreements

also provide that in the event that Plaintiffs’ counsel is fired, Plaintiffs’ counsel will reassign the

fee claims back to Plaintiffs. Id. Second, Defendants are wrong when they pronounce, without any

support whatsoever, that to qualify as a contingent fee arrangement, the Retainer Agreements need

to have provided a percentage of the attorneys’ fees to be collected from a recovery. Defs. Mem.




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at 15. In fact, it would be up to the Court—upon application by Plaintiffs’ counsel—to determine

an appropriate percentage.

       Finally, Defendants characterization of the termination arrangement between counsel and

Plaintiffs Townes and Brown—that if “Ms. Townes and/or Ms. Brown terminate counsel’s

services, they are obligated to pay their lawyers regardless of any recovery” (Defs. Mot. at 15

(emphasis added)) is wrong and is wholly unsupported by the very language that they cite. To be

clear, with respect to Plaintiffs’ duty to pay Plaintiffs’ counsel for legal services rendered, the

Retainer Agreements explicitly state that upon their termination by Plaintiffs, Plaintiffs’ counsel

will “assign the legal claim for attorney’s fees” back to Plaintiffs and, from there, Plaintiffs will

pay Plaintiffs’ counsel for services performed prior to termination. See R. 56.1 Stm., ¶¶ 24, 58;

Donovan Decl., Exs. 4, 5, ¶ 6, p. 3. (emphasis added). In other words, in the event that Plaintiffs

achieve a resolution, whereby Defendants agree to pay their attorneys’ fees, then (and only then)

will Plaintiffs have to pay from such amount what Plaintiffs’ counsel may be owed for services

they performed before termination. In the event that Plaintiffs are never paid their attorneys’ fees,

Plaintiffs owe nothing to Plaintiffs’ counsel. Thus, for Defendants to argue that Plaintiffs’ counsel

gets paid regardless of any recovery is wrong and, frankly, disingenuous. Defs. Mem. at 15. As a

result, Defendants have failed to meet their burden, and their Motion as to Plaintiffs Townes and

Brown premised upon the law of champerty should be denied.

       D.      Plaintiffs Brown and Townes Have Standing

       Defendants also argue that summary judgment is appropriate as to two issues relating to

standing: (1) that Plaintiffs Brown and Townes lack “prudential” standing; and (2) they lack

standing to assert claims for counsel fees. Defs. Mem. at 18-19. Defendants’ last minute standing

arguments are baseless and should be rejected out of hand.




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       Defendants argue that “Ms. Brown and Ms. Townes do not have prudential standing” to

assert claims for summary judgment because “they are asserting the legal rights of others, not

themselves.” Defs. Mem. at 19. However, this matter was brought as a putative class action subject

to certification under Rule 23. The whole purpose of the Rule is to allow one or more plaintiffs to

assert legal rights on behalf of others. As such, Defendants’ Motion must be rejected.

       Defendants also argue that Plaintiffs Brown and Townes lack standing to sue for attorneys’

fees because they assigned those claims outright to their counsel. Defs. Mem. at 18-19. As

explained in detail above, Defendants are wrong. See Section V.C., supra. The Retainer

Agreements’ plain language shows that Plaintiffs only granted a revocable assignment of their

attorneys’ fees, which Plaintiffs can unilaterally reclaim pursuant to the terms of the Retainer

Agreements. See R. 56.1 Stm., ¶¶ 24, 58; Donovan Decl., Exs. 4, 5, ¶ 6, p. 3. At a minimum, the

assignment’s revocable nature creates genuine issues of material fact concerning whether Plaintiffs

do, in fact, lack standing to sue for attorneys’ fees. Summary judgment is therefore inappropriate.

       E.      Relief Under the UCL, FAL, CLRA, and Claims for Breach of Warranty is
               Available Without Individualized Proof of Reliance and Injury, as the
               Testimony of Plaintiffs Ashour and Brown Demonstrate Injury and Causation

       Defendants argue that Plaintiffs Ashour and Brown cannot prove that they relied upon the

“No Preservatives” representation on the label when making their purchases. Defs. Mem. at 19-

21, 26-28. Despite Defendants’ suggestion otherwise, relief under the UCL, FAL, and CLRA is

available without individualized proof of “reliance and injury, so long as the named plaintiffs

demonstrate injury and causation.” See Williams v. Gerber Prods. Co., 552 F.3d 934, 938 9th Cir.

2008). Under the UCL, FAL, and CLRA, ordinary principles of actual and proximate causation

apply. See City of Long Beach v. Total Gas & Power N. Am., Inc., 456 F. Supp. 3d 416, 448

(S.D.N.Y. 2020). A challenged statement need not be the sole or even dominant factor in

consumers’ purchasing decisions. Morell v. WW Int’l, Inc., 551 F. Supp. 3d 173, 183 (S.D.N.Y.


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2021). A consumer who purchased products in reasonable reliance on the defendant’s misleading

representations or advertising has suffered “damage” sufficient to bring a claim. Id.

       Similarly, to prevail on a breach of express warranty claim, the burden is on the plaintiff

to prove “(1) the seller’s statements constitute an “affirmation of fact or promise” or a “description

of the goods”; (2) the statement was “part of the basis of the bargain”; and (3) the warranty was

breached.” Caldwell v. Nordic Naturals, Inc., Civ. No. 23-cv-02818-EMC, 2024 WL 24325, at *8

(N.D. Cal. Jan. 2, 2024). Generally, where a plaintiff has adequately stated a California consumer

protection claim, which is the case here, the plaintiff has also sufficiently stated a claim for breach

of express warranty. See, e.g., Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1095 (N.D. Cal.

2017).); Ham v. Hain Celestial Grp., Inc., 70 F. Supp. 3d 1188 (N.D. Cal. 2014).

               1.      Plaintiff Brown’s Verified Answers to Interrogatories and Testimony
                       Demonstrate Injury and Causation

       Defendants conveniently ignore unequivocal evidence of Plaintiff Brown’s injury and

causation in her verified discovery responses and testimony. See Resp. R. 56.1 Stm., ¶¶ 53, 60, 64,

65, 72, 74, 75, 77, 78, 80-89; Donovan Decl., Ex. 3, Brown Dep.; Weiner Decl. Ex. 26, No. 8.

Instead, Defendants resort to mischaracterization of Plaintiff Brown’s testimony to contest her

reliance on the “No Preservatives” representation. Defs. Mem. 19-21. A closer look at her

testimony actually shows her injury and causation: Plaintiff Brown testified that she reviewed the

labels of the Products prior to her purchase. See Resp. R. 56.1 Stm., ¶¶ 53, 60, 64, 65, 72, 74, 75,

77, 78, 80-89; Donovan Decl., Ex. 3 at 27:8-25; Weiner Decl. Ex. 26, No. 8. She testified that on

those labels, the “No Preservatives” representation was clearly stated. Donovan Decl., Ex. 3 at

84:24-85:5; 85:15-20; Weiner Decl. Ex. 26, No. 8. Furthermore, Plaintiff Brown testified that in

addition to the taste, price, thirst quenching, sugar content of the Arizona Products, the “No

Preservatives” representation was a factor in purchasing those Products. Donovan Decl., Ex. 3 at



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107:3-108:6; Weiner Decl. Ex. 26, No. 8. 11 Such testimony is sufficient for Plaintiffs Brown’s

claims under the UCL, FAL, CLRA, and breach of warranty.

       Defendants argue that Plaintiff Brown’s testimony does not support her claims under the

UCL, CLRA, FAL, and breach of warranty with respect to Defendants’ “No Preservatives” label.

Defs. Mem. at 21. Defendants are wrong. The fact that Plaintiff Brown did not gratuitously testify

repeatedly as to the degree to which the “No Preservatives” representation impacted her purchases

during her deposition, does not contradict or negate her verified interrogatory answers and

testimony that she relied upon the “No Preservatives” representation. See e.g., Smith v. Crown Lift

Trucks, No. 04 Civ. 2866 (GEL), 2005 WL 3500438 (S.D.N.Y. Dec. 20, 2005) (interpretation of

alleged contradictory testimony is a question for a jury). More importantly, at her deposition, just

before testifying as to the Products she purchased, Plaintiff Brown was asked how she believed

she had been deceived by Defendants’ label, she testified: “Well, the labels clearly states (sic) on

it ‘No Preservatives,’ and I was unaware that it had any at all.” Donovan Decl., Ex. 4, Brown Dep.

at 85:15-23. Thus, Defendants’ reliance on case law involving plaintiffs who failed to present any

evidence of reliance is misplaced. Defs. Mem. at 19-20. Because Plaintiff Brown has demonstrated

the requisite injury and causation under California law, Defendants’ Motion should be denied. 12

               2.      Plaintiff Ashour’s Verified Answers to Interrogatories and Testimony
                       Demonstrate Injury and Causation


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   Defendants’ objection on the record that Plaintiff Brown’s testimony was the product of
“improper leading and argumentative questions during re-direct, suggest answers to Ms. Brown
about reasons for purchases” is wholly without merit. Donovan Decl., Ex. 3 at 107:3-108:6. The
questions posed by counsel on redirect were premised upon Plaintiff Brown’s verified discovery
responses and were open-ended questions in nature. Defense counsel’s objections were baseless
and obstructionist.
12
   To the extent Defendants argue Plaintiffs have not yet established the specific injury Plaintiff
Brown or Ashour suffered, that argument is premature. Expert discovery and class certification
briefing have not even commenced in this matter, and the materiality of the challenged
representation and the value attached thereto will be before this Court pursuant to a forthcoming
scheduling order.


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       Defendants’ Motion imposes an improper standard for reliance on Defendants’

misrepresentation for Plaintiff Ashour’s purchases of Rx Energy and Mucho Mango. Defs. Mem.

at 26-28. To be actionable under the UCL, FAL, and CLRA, a challenged statement need not be

the sole or even dominant factor in consumers’ purchasing decisions. Morell, 551 F. Supp. 3d at

183. Plaintiffs do not dispute that Plaintiff Ashour purchased the Rx Energy and Mucho Mango

Products, in part, because he was interested in trying the flavors. Donovan Decl., Ex. 1, Ashour

Dep. at 118:7-13, 120:5-11. However, Plaintiff Ashour’s testimony clearly establishes that the “No

Preservatives” representation on the Rx Energy and Mucho Mango Products’ labels was a factor

in his decision to make those purchases. Donovan Decl., Ex. 1, Ashour Dep. at 152:17-153:10 (“I

haven’t seen any beverage product out there that state quite like your client’s that has no

preservatives on it. It’s a – it’s a big statement, no. Like I said before, I relied on all three, but I

mostly relied on the no preservatives, that’s what influenced me to make the purchase.”)

(emphasis added); see also Weiner Decl., Ex. 23. Plaintiff Ashour’s testimony is sufficient to

establish a question of fact as to causation between Defendants’ “No Preservatives” representation

and Plaintiff Ashour’s purchases of the Rx Energy and Mucho Mango Products.

       With respect to Plaintiff Ashour’s breach of warranty claim, the question is whether a

promise was conveyed by the seller and thus became “a term of the parties’ contract” and

subsequently breached. See Richard A. Lord, Williston on Contracts 4th § 52.45 (4th ed. 2004)

(stating that an express warranty is “a term of the parties’ contract”); Cal. Civ. Code § 1791.2(a)(1)

(defining “express warranty”); BLACK’S LAW DICTIONARY at 1582 (7th ed. 1999) (defining

“express warranty” as “[a] warranty created by the overt words or actions of the seller”). To this

end, where Plaintiff Ashour was promised a beverage with “No Preservatives,” but received a

beverage with preservatives, a promise was made by Defendants that was not kept. See id. Plaintiff




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Ashour has demonstrated the requisite causation and damages under California law, and

Defendants’ Motion should be denied.

       F.      In a Case Alleging a Price Premium Theory of Damages, Plaintiffs Townes and
               Brown’s Post-Suit Purchases and Voluntary Payments are Not Proper
               Grounds for Granting Summary Judgment

       Defendants argue that they are entitled to summary judgment against Plaintiffs Brown and

Townes because they continued to buy the Products after retaining counsel and suing Defendants.

Defs. Mem. at 22. Defendants further argue that Plaintiffs Townes and Brown’s claims are barred

under the “voluntary payment doctrine.” Id. at 24-25. Based on well-settled case law, all of

Defendants’ arguments fail.

       First, this case involves the overpayment of a price premium by Plaintiffs that they would

not have paid had the Products been labeled in a non-misleading way. SAC ¶ 49. Plaintiffs pled

both injury and causation by alleging that Defendants’ deceptive labeling allowed them to charge

a price premium for the Products, that the price premium was charged both to those who saw and

relied upon the false representations and those who did not, and that, as a result of the price

premium, they were charged a price they would not otherwise have been charged but for the false

labeling. See id. ¶¶ 44, 46, 48, 49; see also Eidelman v. Sun Prods. Corp., No. 21-1046-cv, 2022

WL 1929250, at *1 (2d Cir. June 6, 2022) (finding that a price premium demonstrates actual

injury); Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1104 (N.D. Cal. 2018); Brazil v. Dole

Packaged Foods, LLC, 660 F. App'x 531, 534 (9th Cir. 2016) (“The proper measure of restitution

in a mislabeling case is the amount necessary to compensate the purchaser for the difference

between a product as labeled and the product as received.”). Thus, because Plaintiffs Brown and

Townes continued to be injured each time they purchased the Products, including after they

potentially learned the truth about Defendants’ misleading conduct, their claims cannot be

dismissed as a matter of law on a motion for summary judgment.


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          Second, even assuming that Plaintiffs had not alleged injury by overpayment, the

“voluntary payment doctrine” only bars recovery of monies paid with full knowledge of the fraud.

Defendants agree that is the standard. See Defs. Mem. at 24 (citing Solomon v. Bell Atl. Corp., 777

N.Y.S.2d 50, 55 (1st Dep’t 2004)); Hilario v. Allstate Ins. Co., No. 20-cv-05459-WHO, 2020 WL

7643233, at *6 (N.D. Cal. Dec. 23, 2020). Thus, to the extent Plaintiffs have presented evidence

that they made purchases without said knowledge any time during the Class Period, summary

judgment cannot be entered against Plaintiffs claims across the board. As noted by one court, “the

voluntary payment doctrine limits recovery rather than culpability.” Rabin v. Google LLC, No.

22-CV-04547-PCP, 2024 WL 1269313, at *2 (N.D. Cal. Mar. 26, 2024) (emphasis added); see

also Fishon v. Peloton Interactive, Inc., 620 F. Supp. 3d 80 (S.D.N.Y. 2022) (rejecting outright

application of the doctrine but noting that it could limit the recovery); Spiro v. Healthport Techs.,

LLC, 73 F. Supp. 3d 259, 275 (S.D.N.Y. 2014); MacDonell v. PHH Mortgage Corp., 846 N.Y.S.2d

223, 224 (2d Dep’t 2007); Oswego Laborers’ Local 214 Pension Fund, 623 N.Y.S.2d 529, 533

(1995).

          Here, Plaintiff Brown testified that during the Class Period and prior to December 31, 2020,

she purchased: Arnold Palmer in 2018 or 2019, (Resp. R. 56.1 Stm., ¶ 79, Donovan Decl., Ex. 4,

Brown Dep. at 87:4-8), Raspberry Iced Tea in 2019ish, (Resp. R. 56.1 Stm., ¶ 85, Donovan Decl.,

Ex. 4 at 88:4-6), Lemon Iced Tea in 2019, (Resp. R. 56.1 Stm., ¶ 82, Donovan Decl., Ex. 4 at 89:9-

11), and eight to ten cases and eight to nine single tall cans of Green Tea prior to December 31,

2020. Resp. R. 56.1 Stm., ¶ 76, Donovan Decl., Ex. 4 at 90:14-91:20.

          Similarly, Plaintiff Townes testified that, during the Class Period and prior to December

31, 2020, she first observed the “No Preservatives” representation on an Arnold Palmer Half and

Half in 2014 that she then purchased. Resp. R. 56.1 Stm., ¶¶ 29-30, Donovan Decl., Ex. 2, Townes




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Dep. at 151:15-152. After that, Plaintiff Townes was not asked about any of the purchases she

made between when she first observed the “No Preservatives” label on the Products and December

31, 2020. Further, Defendants did not question Plaintiff Townes about her verified Answers to

Interrogatories, in which she states:

       she spent approximately $46 a month on various AriZona beverages since May
       2013. On average, she spent $32 for two 16-pack AriZona Ice Tea with Lemon
       Flavor in the 16 ounce size; $6 dollars for two 128 ounce AriZona Arnold Palmer
       Zero Half Iced Tea & Half Lemonade; and $10 on 16 ounce bottles and 23 ounce
       cans of AriZona Fruit Punch Fruit Juice Cocktail, AriZona Watermelon Fruit Juice
       Cocktail, AriZona Golden Bear Lite Strawberry Lemonade, AriZona Raspberry
       Flavor Ice Tea, AriZona Iced Tea with Lemon Flavor, and Arizona Southern Style
       Real Brewed Sweet Tea.

Resp. R. 56.1 Stm., ¶ 29; Weiner Decl., Ex. 25, Nos. 2, 7. Defendants make a last-ditch argument

that allowing Plaintiffs Brown’s claims to proceed would not only “not advance” the public interest

in enforcing California consumer protection laws, but “would undermine them.” Defs. Mem. at

25. Defendants fail to cite any case law in support of this notion, and the cases applying California

law that have addressed the application of the “voluntary payment doctrine” in the consumer fraud

context have held the exact opposite. See Sanders v. LoanCare, LLC, No. CV 18-9376 PA, 2020

WL 8365241, at *4 (C.D. Cal. Dec. 4, 2020) (declining (for the second time) to apply the voluntary

payment doctrine to UCL claims because it “would be contrary to public policy”); Torliatt v.

Ocwen Loan Servicing, LLC, 570 F. Supp. 3d 781, 800 (N.D. Cal. 2021) (same); Bautista v. Valero

Mktg. & Supply Co., No. 15-CV-05557-RS, 2018 WL 11356583, at *4 (N.D. Cal. Dec. 4, 2018)

(“applying the voluntary payment defense here would run contrary to public policy and legislative

intent”); see also Sobel v. Hertz Corp., 698 F. Supp. 2d 1218, 1224 (D. Nev. 2010) (holding that

“to allow [the defendant] to avoid liability for [an] unfair practice through the voluntary payment

doctrine would nullify the protections of the act and be contrary to the intent of the legislature.”).




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       The cases Defendants cite in support of their “post-suit purchases” arguments are either

inapplicable or do not help them. For example, Prohias v. Pfizer, Inc. concerned a dismissal under

Rule 12(b)(6) before the plaintiff could ever establish whether the product was sold at a premium

due to the defendant’s false and misleading statements. 485 F. Supp. 2d 1329, 1336 (S.D. Fla.

2007); Defs. Mem. at 23. Plaintiffs here will present expert testimony that establishes that

Defendants’ labeling of the Products as containing “No Preservatives” allowed them to charge a

higher price than they could have had the Products been labeled in a non-misleading manner. See

Prescod v. Celsius Holdings, Inc., No. 19STCV09321-KF, 2021 WL 5234499 (Cal. Sup. Aug. 2,

2021) (Order granting class certification for California consumer protection claims arising out of

the defendant’s “No Preservatives” representation on its beverage products despite containing

citric acid). Plaintiffs’ expert(s) will be able to do so using methodologies accepted by courts in

this Circuit and throughout the country. See e.g., Prescod, 2021 WL 5234499; Eidelman, 2022

WL 1929250, at *1; Hadley, 324 F. Supp. 3d at 1104; Brazil, 660 F. App’x at 534.

       Another case Defendants rely upon, Red v. Kraft Foods, did consider “post-suit purchases,”

but did so in determining whether the proposed class representatives were typical of the class for

purposes of Rule 23(a)’s typicality requirement. No. CV 10-1028-GW, 2012 WL 8019257, at *12

(N.D. Cal. Apr. 12, 2012); Defs. Mem. at 24. Thus, because that case did not consider whether a

plaintiff’s post-suit purchases could, as a matter of law, bar her from proving her consumer fraud

claims at trial, Defendants’ reliance on it is misplaced.

       Defendant’s reliance on Buckland v. Threshold Enterprises, Ltd., in support of their

argument that Plaintiff “Brown will have an equally insurmountable task of proving injury” is

misplaced as well. 155 Cal. App. 4th 798 (2007); Defs. Mem. at 23. There, the plaintiff purchased

the product “solely to pursue litigation upon the vindication of her suspicions” of foul play. Id.




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at 808 (emphasis added). Because of this, the court held that she lacked “the requisite confidence

in the truth and material completeness of [the defendant’s] representations and cannot establish

actual reliance for the purpose of her fraud claims.” Id. at 809. However, here the record is clear

that the “No Preservatives” representation on the labels was a factor—in addition to the taste, price,

to quench her thirst, and the sugar content—in her purchases of the Products. Resp. R. 56.1 Stm.

¶¶ 53, 60, 64, 65, 72, 74, 75, 77, 78, 80-89; Donovan Decl., Ex. 3, Brown Dep. at 107:9-20; Weiner

Decl. Ex. 26, No. 8. Plaintiff Brown testified that she regularly purchased the Products in 2018

and 2019, (Resp. R. 56.1 Stm. ¶¶ 53, 60, 64, 65, 72, 74, 75, 77, 78, 80-89; id., Ex. 3 at 87:4-8;

88:4-6; 89:9-11; 90:14-91:20), but that it was not until December 2020 that she first came to the

belief that she was being deceived by the Defendants’ labels. Resp. R. 56.1 Stm. ¶¶ 53, 60, 64, 65,

72, 74, 75, 77, 78, 80-89; id., Ex. 3, at 85:3-14. Further, Plaintiff Brown testified that it was not

until 2021 that she decided to sue Defendants. Resp. R. 56.1 Stm. ¶¶ 53, 60, 64, 65, 72, 74, 75, 77,

78, 80-89; id., Ex. 3, at 52:8-53:14.

       Finally, Simpson v. California Pizza Kitchen, Inc., is inapplicable. 989 F. Supp. 2d 1015

(S.D. Cal. 2013); Defs. Mem. at 23-24. That case did not deal with consumer fraud claims based

on deceptive labeling. Instead, the claim was that the defendant had “breached its implied warranty

of merchantability . . . because [the products at issue were] ‘not safe for human consumption.’”

989 F. Supp. 2d at 1026. Importantly, California law states that when a buyer “has refused to

examine the goods there is no implied warranty with regard to defects which an examination ought

in the circumstances to have revealed to him.” Id. at 1026. Thus, the court held that because the

plaintiff had a sufficient opportunity to examine the products yet failed to provide any justifications

for not doing so prior to purchasing and consuming them, she waived her rights under the implied




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warranty. Id. at 1026-27. Here Plaintiffs could not have uncovered the alleged fraud in light of

Defendants’ prominent labeling and deception.

       Defendants’ Motion is further belied by the fact that there are numerous reasons for why a

consumer would continue to purchase a product after learning of a defendant’s deceptive conduct.

As Defendants concede, Plaintiffs testified to the many reasons why they purchased the Products,

(see Defs. Mem. at 3-10), each of which merit consideration by a trier of fact. For that reason

alone, Plaintiffs’ claims cannot be determined as a matter of law on a motion for summary

judgment. See In re Light Cigarettes Mktg. Sales Pracs. Litig., 751 F. Supp. 2d 196, 204 (D. Me.

2010). As genuine disputes of material fact exist, summary judgment is inappropriate.

       G.      Plaintiffs’ Unjust Enrichment Claims Are Properly Pled in the Alternative,
               and Questions of Fact Preclude the Grant of Summary Judgment

       Defendants’ Motion as to Plaintiffs’ claims for unjust enrichment seemingly attempts to

argue that Plaintiffs, as a matter of law, cannot plead unjust enrichment in the alternative to their

consumer protection claims under the UCL, FAL, CLRA, and NYGBL. Defs. Mem. at 25-26, 29-

30. Indeed, all of the cases cited by Defendants are orders on motions to dismiss. See id.

       However, this Court has already rejected Defendants’ motions to dismiss Plaintiffs’ unjust

enrichment claims, holding that for Plaintiff Ashour and Brown’s claims “[t]he California Supreme

Court held that there is a standalone claim for restitution, which sounds in the same vein as other

states’ unjust enrichment causes of action[,]” ECF No. 202 at 9 (citing City of Long Beach v. Total

Gas & Power N. Am., Inc., 465 F. Supp. 3d 416, 450 n.192 (S.D.N.Y. 2020)), and that “courts

have found that unjust enrichment can be pleaded in the alternative under California law[,]” Id.

(citing In Re Samsung Galaxy Smartphone Mktg. & Sales Pracs. Litig., No. 16 Civ. 6391, 2020




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WL 7664461, *12 (N.D. Cal. Dec. 24, 2020)), 13 and for Plaintiff Townes’ claim “[u]nder New

York law, ‘a plaintiff may plead unjust enrichment in the alternative’ when a plaintiff alleges fraud

such that the defendants’ enrichment was unjust.” Id. at 8-9 (citing Axon v. Florida’s Natural

Growers, Inc., 813 F. App’x 701, 706 (2d Cir. 2020). Defendants’ attempt to revisit the Court’s

prior decisions on an issue of law is functionally flawed and should be denied. See Perreca v.

Gluck, 262 F. Supp. 2d 269, 272 (S.D.N.Y. 2003) (“[T]he ‘law of the case’ doctrine is a rule of

practice followed by New York courts that dictates that a decision on an issue of law made at one

stage of a case becomes binding precedent.”).

       As it relates to Defendants’ burden under Rule 56, Defendants’ Motion wholly fails to

establish an absence of disputed material facts necessary for summary judgment on Plaintiffs’

unjust enrichment claims. Defendants proffer only one basis for requesting summary judgment on

Plaintiffs’ unjust enrichment claims: that they fail for the same reasons as Plaintiffs’ statutory

claims. Defs. Mem. at 26, 30. As addressed herein, summary judgment on Plaintiffs’ statutory

claims under the UCL, FAL, CLRA, and NYGBL is inappropriate and should be denied.

Therefore, for the same reasons, Plaintiffs’ unjust enrichment claims should proceed.

       H.      Plaintiff Ashour’s Testimony as to His Purchases of Defendants’ Products is
               Sufficient to Allege Damages Under the UCL

       Defendants argue that summary judgment on Plaintiff Ashour’s UCL claim is proper

because he did not know the quantity of Green Tea Products he purchased over a four year period

and because he has no records to document his purchases. Defs. Mem. at 29. However, Defendants’



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   While the Court did not make a determination that California law applied to the California
Plaintiffs’ claims for unjust enrichment, (see ECF No. 202 at 9-10), under New York law “‘a
plaintiff may plead unjust enrichment in the alternative’ when a plaintiff alleges fraud such that
the defendants’ enrichment was unjust.” Id. at 8-9. As a result, whether the California Plaintiffs’
unjust enrichment claims are subject to New York or California law, as a matter of law, their claims
are properly pled in the alternative.


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arguments were just rejected in this District. In Woodhams v. GlaxoSmithKline Consumer

Healthcare Holdings (US) LLC, the defendant moved for summary judgment against several

plaintiffs who, although they had given sworn statements that they had purchased the products at

issue, failed to produce purchase receipts for them. No. 18-CV-3990 (JPO), 2024 WL 1216595

(S.D.N.Y. Mar. 21, 2024). In denying the motion, the court noted that “[p]laintiffs are not

necessarily required to produce such receipts. Courts in this Circuit have recognized that

“consumers are likely to lack proof of purchase.” Id. at *6 (quoting In re Scotts EZ Seed Litig., 304

F.R.D. 397, 407 (S.D.N.Y. 2015)). Indeed, to enforce a “requirement that consumers retain receipts

for . . . sundries in order to bring a cause of action would undermine the ability of consumers to

bring small item actions” Id. (quoting Belfiore v. Procter & Gamble Co., 311 F.R.D. 29, 65

(E.D.N.Y. 2015)). Courts in the Ninth Circuit have rejected similar arguments. Briseno v. ConAgra

Foods, Inc., 844 F.3d 1121, 1124-25 (9th Cir. 2017); In re JUUL Labs, Inc., Mktg. Sales Pracs. &

Prods. Liab. Litig., 609 F. Supp. 3d 942, 962 (N.D. Cal. 2022) (same).

       Like the plaintiffs who survived summary judgment in Woodhams, Plaintiff Ashour

testified under oath that he purchased Arizona Green Tea Products between late 2014 through

November 2018. Resp. R. 56.1 Stm. ¶ 2, Donovan Decl., Ex. 1, Ashour Dep. at 94:6-97:23. He

also testified that during that period of time, he purchased Arizona Green Tea Products two to

three times per week. Id. Finally, Plaintiff Ashour testified that he purchased Arizona RX Energy

and Arizona Mucho Mango a “couple” of times. Id. Ex. 1 at 116:12-117:24; 119:14-22. Thus,

summary judgment on Plaintiff Ashour’s UCL claim for not providing an exact amount of

Products purchased or receipts to substantiate them is improper.

VI.    CONCLUSION

       For the reasons set forth herein, Defendants’ Motion should be denied in its entirety.




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